      Case 1:22-cr-20009-BB Document 5 Entered on FLSD Docket 01/05/2022 Page 1 of 1
                                         CO U RT M IN UTES                                                    Page1
                         M agistrate ludge Alicia M .Otazo-Reyes
                  KingBuildingCourthouse-11-1                                  Date:1/5/2022      Time:10:00a.m.
Defendant:Sergio Rom ero                        J#:02651-506 Case #:21-04371-M J-TORRES
AUSA:         -                J,
                                d.n pi,                    Attorney:MichaelGelety(PERM) . @ ze/ j            ..


Violation: Distrib InandReceiptofChildPornography                                                    l'
                                                                                                      luae
Proceeding: Preli 'ary/Arraignment                CJA Appt:
Bond/PTD Held:C Yes C No        Recommended Bond:
Bond Setat:PretrialDetention                                       Co-signed by:
 C Surrenderand/ordonotobtainpassports/traveldocs                        Language: English

 r ReporttoPTSasdirected/or         x'saweek/monthby                     Disposition:
   phone:      x'saweek/monthin person                                   ++Brad ordernot reviousl iven **         .


 r Random urinetesting byPretrialServices
    Treatmentasdeemednecessary                                                  k. '        r                -
 Nr Refrainfrom excessi
                      veuseofalcohol
 r Participate in m entalhealth assessm ent& treatment
 Nr Maintainorseekfull-timeemployment/education
 Nr Nocontactwithvictims/witnesses
 r No firearm s
 r Notto encumberproperty
 Rr Maynotvisittransportationestablishments
     HomeConfinement/ElectronicMonitoringand/or
     Curfew            pm to            am ,paid by
 r Allowances:Medicalneeds,courtappearances,attorneyvisits,
     religious,em ploym ent
 r Travelextendedto:                                                       '
 r   Other:                                                               from SpeedyTrialClock
NEXT COURT APPEAM NCE Date:                 Tim e:              Judge:                      Place:
ReportRE Counsel:
P    ond Hear g:                e       .


PreIim/Arraig rRemoval:             &       '               N --   N.      .     .      .                    t C      q'
Status onference RE:                               *
              %                             h          %
D.
 A.R. //NJ    .

                       (                -.-L' -6 '                       Timeincourt:                             .
                                ;
